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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



                                            )
UNITED STATES                               )
                                            )      Case No. 04-cr-385
                                            )
                                            )      Hon. Leonie M. Brinkema
ALIAL-TIMIMI                                )
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  DEFENDANT DR. ALI AL-TIMIMPS MEMORANDUM IN SUPPORT OF MOTION
       TO COMPEL DISCOVERY RELATED TO KHVvA.JA MAI1MQQ1) HASAN

       Defendant Dr. Ali al-Timimi respectfully moves this Court, by counsel and pursuant to

Federal Rule of Criminal Procedure 16 and Brady v. Maryland and its progeny, to compel the

government to produce previously requested and unlawfully withheld evidence related to alleged

co-conspirator Khwaja Mahmood Hasan. Telephone communications between Dr. al-Timimi

and Hasan have long been a focus of this case and this remand, in large part because of an

exculpatory phone call placed by Dr. al-Timimi to Hasan on or about September 19, 2001. in

which he left a voicemail discouraging Hasan and alleged co-conspirator Yong Ki Kwon from

traveling to Pakistan.

       Before his 2005 trial before this Court. Dr. al-Timimi sought from the government phone

records related to Mahmood Hasan that would have definitively established that Hasan and

Kwon received phone calls from al-Timimi: the government, however, provided Dr. al-Timimi

with a temporally incomplete set of records, and insisted that it possessed no phone records for

Hasan for the period of September 2001. the month in which many of the events central to the

case against Dr. al-Timimi took place, and the time period in which the exculpatory phone call
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